Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 1 of 33




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 20-60416-CIV- CANNON/HUNT

  TOCMAIL INC, a Florida corporation,

               Plaintiff,
  v.

  MICROSOFT CORPORATION, a
  Washington corporation,

              Defendant.
  _____________________________________/




       PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S
        DAUBERT MOTION TO EXCLUDE THE OPINIONS AND TESTIMONY OF
                          PLAINTIFF’S EXPERTS




                                            1
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 2 of 33




         Plaintiff, TOCMAIL INC (“Plaintiff” or “TocMail”), by and through undersigned counsel,

  hereby respectfully files its Memorandum of Law in Opposition to Defendant, MICROSOFT

  CORPORATION’S (“Microsoft” or “Defendant”), Daubert Motion to Exclude the Opinions and

  Testimony of Plaintiff’s Experts Michael Wood (“Wood”) and Marcie D. Bour (“Bour”),

  (“Daubert Motion” or “Motion”) [ECF No. 69], and states:

                                      I.      INTRODUCTION

         Microsoft seeks to exclude the testimony of Bour by first arguing that she failed to

  apportion which part of gross sales of products containing Safe Links were attributable to false

  advertisements regarding that feature. However, it is well-established in the Eleventh Circuit that

  it is the defendant’s burden to conduct such an apportionment. Microsoft even acknowledges that

  “revenues attributable to Safe Links are not available.” Where a defendant fails to meet its burden

  of apportionment, as is the case here, plaintiff is entitled to seek disgorgement of the total revenue.

         Microsoft next argues that Bour failed to present evidence of causation in her damages

  Report. Again, Microsoft argues against well-established law. It is perfectly permissible for

  damages experts to assume causation in their damages models. Bour expressly stated, as Microsoft

  concedes, that she is not opining on causation. Microsoft’s argument is entirely meritless.

         Microsoft seeks to exclude Wood’s testimony by arguing that Wood is not qualified to

  testify regarding cybersecurity issues. Yet, Wood has extensive experience in the cybersecurity

  industry for over thirty years. Wood also has been issued seven cybersecurity patents. Wood easily

  meets the non-stringent qualification standard for testifying as an expert witness.

         Microsoft further argues that, as a TocMail shareholder, Wood is too biased for his expert

  testimony to be admitted. Once again, Microsoft argues against well-established law that bias,

  including financial interest, is a matter for the jury to weigh and is not a matter of admissibility.




                                                    2
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 3 of 33




         Microsoft’s Motion should be denied in full.

                                    II.     LEGAL STANDARD

         In determining whether an expert’s testimony is admissible, the court should consider

  whether (1) “the expert is qualified to testify competently regarding the matters he intends to

  address; (2) the methodology used is sufficiently reliable; and (3) “the testimony assists the trier

  of fact, through the application of . . . technical . . . expertise, to understand the evidence or to

  determine a fact in issue.” Quiet Tech. DC-8, Inc. v Hurel-Dubois UK Ltd., 326 F. 3d 1333, 1340-

  411 (11th Cir. 2003). “Daubert itself stresses that ‘[t]he inquiry envisioned by Rule 702 is ... a

  flexible one.”” Maiz v. Virani, 253 F.3d 641, 665 (11th Cir. 2001).

         “[I]t is not the role of the district court to make ultimate conclusions as to the

  persuasiveness of the proffered evidence.” Quiet Tech., 326 F. 3d 1333, 1341 (11th Cir. 2003).

  “Quite the contrary, ‘[v]igorous cross-examination, presentation of contrary evidence, and careful

  instruction on the burden of proof are the traditional and appropriate means of attacking shaky but

  admissible evidence.” Id. (citing Daubert, 509 U.S. at 596).

         Indeed, “[t]he proponent does not have to prove that the [expert’s] opinion is scientifically

  correct, just that it is reliable and helpful.” Bachmann v. Hartford Fire Ins. Co., 323 F. Supp. 3d

  1356, 1359-60 (M.D. Fla. 2018) (citations omitted). “If the proponent does so, then the court

  should open the gate by permitting the proponent to elicit testimony from the expert witness

  concerning his or her reliable opinions and by allowing the jury to fulfill its role of determining

  the weight to accord such testimony.” Id. “[T]he rejection of expert testimony is the exception

  rather than the rule.” Commercial Long Trading Corp. v. Scottsdale Ins. Co., No. 12-22787, 2013

  WL 12093149, *2 (S.D. Fla. April 3, 2013).




                                                   3
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 4 of 33




               III.    MS. BOUR’S OPINIONS SHOULD NOT BE EXCLUDED.

         Bour, a partner at YIP Associates, is a Certified Public Accountant who has over thirty-

  five (35) years of professional experience providing forensic accounting and litigation consulting

  services, including experience in methodologies for damages’ calculation, in Florida and

  throughout the United States. See Bour’s CV and testimony log, included with her expert Report

  (ECF 69-31), attached here as Exhibit “1”; see also Bour Declaration, ¶ 1, attached as Exhibit

  “2”; Bour’s Deposition transcript is attached as Exhibit “3.” 1 Bour routinely provides testimony

  in Federal and State Court in commercial disputes regarding economic damages including lost

  profits. See Ex. 1. Bour is also a Master Analyst in Financial Forensics and a Certified Fraud

  Examiner, and she also holds the designations of Accredited in Business Valuation and Certified

  Valuation Analyst. Id.; Bour Dec., ¶ 3. She has over 40 publications and speaking engagements,

  including at national and regional conferences, on topics focused on forensic accounting,

  calculating economic damages for litigation, business valuation, and methodologies for calculating



  1 Microsoft acknowledges that Bour submitted a Supplemented Expert Report on May 21, 2021,

  but Microsoft filed its Daubert Motion anyway over six weeks before the deadline to file such
  Motions. To be clear, the Supplemented Report was both timely and proper for the reasons already
  expressed to Microsoft in an email prior to it filing its Daubert Motion, a copy of which is attached
  as Exhibit “4.” Microsoft did not respond to that email. Additionally, Microsoft’s attempt to paint
  TocMail in a bad light by claiming that TocMail knew Microsoft would be filing a Daubert Motion
  prior to the deadline is an unbelievable mischaracterization of the facts. Microsoft’s counsel did
  reach out to TocMail’s counsel on May 18, 2021 to confer on expected competing Daubert and
  Summary Motions, as well as motions to seal and page requirement issues. The extent of conferral
  regarding Daubert and Summary Judgment motions was that both sides would clearly oppose
  either side’s Motions. No “substance” whatsoever was discussed. Moreover, TocMail’s counsel
  again reiterated that the deadline for the Motions was July 9, 2021, which Microsoft’s counsel
  merely confirmed. Microsoft did not suggest in any manner that it intended to file its Daubert
  motion over six weeks prior to the deadline, and there is no way TocMail could have known that,
  especially considering the parties just had a Status Conference with the Court in which Microsoft
  agreed that the deadlines should be pushed back due to the outstanding Motion to Dismiss.
  Nevertheless, none of Microsoft’s positions for exclusion of Bour in its Motion are impacted by
  the updates in the Supplemented Report. While not at issue, a copy of the Supplemented Report
  is attached for the Court’s reference as Exhibit “5.”


                                                   4
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 5 of 33




  lost profits in addition to having been an instructor on “Calculating Business Damages.” Ex. 1;

  Bour Dec., ¶ 4. Bour has also served in numerous leadership positions including National

  Association of Certified Valuators and Analysts’ Executive Advisory Board and its Litigation

  Forensics Board. Ex. 1; Bour Dec., ¶ 5. She currently serves on the Florida Bar Unlicensed Practice

  of Law Standing Committee. Id. Bour has performed in excess of 100 and possibly in excess of

  200 lost profits analyses. Bour Decl., ¶ 6. Bour has served as an expert witness in forensic

  accounting matters for over 25 years and has provided expert testimony approximately 22 times

  in the past four years alone. Ex. 1; Bour Decl., ¶ 7.

  A.     Ms. Bour’s Methodology Followed Eleventh Circuit Law Which Squarely Places the
         Burden of Apportionment Entirely on Defendant.

         1.      Damages and Disgorgement of Profits under the Lanham Act Generally.

         Under the Lanham Act, a plaintiff in a false advertising case is entitled to recover “(1)

  defendant’s profits, (2) any damages sustained by the plaintiff, and (3) costs of the action.” 15

  U.S.C. § 1117(a). “This recovery is cumulative, that is, the Court may award [Plaintiff] both its

  damages and [Defendant’s] profits.” Babbit Electronics, Inc. v. Dynascan Corp., 38 F.3d 1161,

  1182 (11th Cir. 1994).

         Additionally, the law is well-settled in this Circuit that a Lanham Act plaintiff does not

  need to demonstrate actual damages in order to obtain disgorgement of defendant’s profits.

  Ameritox, Ltd. v. Millennium Labs., Inc., No. 8:11-cv-775-T-24, 2014 WL 1456347 *9 (M.D. Fla.

  April 14, 2014); Burger King Corp. v. Mason, 855 F.2d 779, 781 (11th Cir. 1988); Tiramisu Intern.

  LLC v Clever Imports LLC, 741 F. Supp. 2d 1279, 1288 (S.D. Fla. 2010). The Lanham Act “covers

  claims for both trademark infringement and false advertising” and thus neither “the calculation of

  damages or appropriate awards to a plaintiff should be altered based upon the nature of the

  violation under the Act.” Hard Candy, LLC v. Anastasia Beverly Hills, Inc., No. 16-21203, 2018



                                                    5
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 6 of 33




  WL 10322164 *8 FN 10 (S.D. Fla. Jan. 13, 2018). “Unlike in the case of future lost profits caused

  by breach of contract, ‘Lanham Act damages may be awarded even when they are not susceptible

  to precise calculations.’” Aronowitz v. Health-Chem Corp., 513 F.3d 1229, 1241 (11th Cir. 2008).

         Moreover, Section 1117(a) provides: “In assessing profits the plaintiff shall be required to

  prove defendant’s sales only; defendant must prove all elements of cost or deduction claimed.” 15

  U.S.C. § 1117(a) “It ‘shifts the burden of proving economic injury off the innocent party, and

  places the hardship of disproving economic gain onto the infringer.’” Hard Candy, LLC v.

  Anastasia Beverly Hills, Inc., 921 F.3d 1343, 1353 (11th Cir. 2019).

         2.      Defendants Have the Burden of Apportionment under the Lanham Act.

         Microsoft’s primary argument for excluding Bour’s opinion on disgorgement of profits is

  that she “failed to conduct a necessary apportionment analysis to determine what percentage of

  Microsoft’s sales … is attributable to the Safe Links feature[,]” which cannot be purchased on its

  own. (emphasis added) Motion, pp. 3, 16. Microsoft argues that Bour was required to apportion

  profits “that were directly attributable to the alleged wrongful conduct.” Id. at p. 16. However,

  “‘the plaintiff need only prove gross sales and then it is up to the infringer to prove which, if

  any, of those sales were not attributable to the wrongful act, and deductible costs and expenses

  to arrive at net profits.’” Nutrivida, Inc. v. Inmuno Vital, Inc., 46 F. Supp. 2d 1310, 1315-16 (S.D.

  Fla. 1998) (citing McCarthy, Trademarks and Unfair Competition § 30:65 (4th ed. 1998))

  (emphasis added); see also Hard Candy, LLC, 2018 WL 10322164 at *6. “[U]nder the Lanham

  Act and the common law, it is the infringer’s burden to prove any proportion of its total profits

  which may not have been due to the infringement.” Nutrivida, 46 F. Supp. 2d at 1315

  (citing Hamilton–Brown Shoe Co. v. Wolf Bros. & Co., 240 U.S. 251, 261 (1916).




                                                   6
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 7 of 33




         Indeed, this law is not in dispute – it is well-settled that the defendant has the burden to

  show that any of its sales were not attributable to the wrongful act. See, e.g., Axiom Worldwide,

  Inc. v. Excited Med. Corp., 591 Fed.Appx. 767, 777 (11th Cir. 2014) (affirming district court’s

  award of defendant’s profits where plaintiff “met its burden to prove gross sales revenue,” but the

  defendant “failed to meet ‘its burden of proving that any portion of its sales were not attributable

  to its wrongful acts or that its sales included deductible costs and expenses.’”); New Century

  Mortg. Corp. v. 123 Home Loans, Inc., No. 05-08549, 2007 WL 9702272 *3 (S.D. Fla. Aug. 9,

  2007) (“[I]t is, in fact, Defendant’s burden to demonstrate ‘which, if any, of those sales were not

  attributable to the wrongful act, and deductible costs and expenses to arrive at net profits.’ . . .

  Accordingly, this Court concludes that the Eleventh Circuit does not require more than evidence

  of the amount of sales of a given year, such as Defendant’s tax returns, to meet Plaintiff’s burden

  of demonstrating proof of Defendant’s sale.”)(entire report adopted 2007 WL 9702268); Ameritox,

  2014 WL 1456347 at *9-10 (“[The defendant] argued that, under §1117(a), [the plaintiff] bore the

  burden of establishing what portion of [the defendant’s] profits were due to the allegedly false

  [advertising], as opposed to other aspects of the packaging and promotion of the [defendant’s]

  products. [The plaintiff] disagreed and argued that it was only required to prove [the defendant’s]

  sales and that [the defendant] had to establish any apportionment.... [T]he Court agrees with [the

  plaintiff]”) (citation omitted); Axiom Worldwide, Inc. v. HTRD Group Hong Kong Ltd., 2013 WL

  3975675 *11 (M.D. Fla. July 31, 2013) (stating that it is the defendant’s “burden to prove any

  proportion of its total profits which may not have been due to the [wrongful conduct]” and the

  defendant must “prove which, if any, of those sales were not attributable to the wrongful act”).

         If the defendant cannot apportion which profits are not attributable to the wrongdoing, then

  the plaintiff receives the full amount of gross sales, even it if that represents a windfall. See




                                                   7
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 8 of 33




  Ameritox, 2014 WL 1456347 at *10 (citations omitted) (“[I]f the defendant can apportion its

  profits, then the plaintiff is given the appropriate amount and not a windfall. If the defendant

  cannot apportion its profits, equity supports the view that, having already been held liable

  for [violating the Lanham Act], it is the defendant who should suffer the consequences of its

  own failure to apportion its profits.”) (emphasis added); Wyndham Vac. Ownership, Inc. v. Am.

  Consumer Credit, LLC, No. 18-CIV-80095, 2019 WL 11025869 *3 (S.D. Fla. Oct. 20,

  2019) (“‘There may well be a windfall to the trademark owner where it is impossible to isolate the

  profits which are attributable to the use of the infringing mark. But to hold otherwise would give

  the windfall to the wrongdoer.’”) (quoting Mishawaka Rubber & Woolen Mfg. Co. v. S.S. Kresge

  Co., 316 U.S. 203, 207 (1942)); Tiramisu, 741 F. Supp. 2d at 1288 (“Numerous courts have held

  that ‘when a trademark plaintiff offers evidence of infringing sales and the infringer fails to carry

  its statutory burden to offer evidence of deductions, the plaintiff’s entitlement to profits under the

  Lanham Act is equal to the infringer’s gross sales.”); Nutrivida, 46 F. Supp. 2d at 1316 (“Any

  doubts about the actual amount of gross sales or profits will be resolved against the infringing

  party.”). Indeed, when a defendant fails to carry its “statutory burden” under 15 U.S.C. § 1117,

  “the plaintiff’s entitlement to profits under the Lanham Act is equal to the infringer’s gross sales.”

  Pandora Jewelers 1995, Inc. v. Pandora Jewelry, LLC, No. 09-61490, 2011 WL 2295269 *4 (S.D.

  Fla. June 8, 2011).

         Microsoft correctly acknowledges that Safe Links “cannot be purchased on its own” and

  can only be purchased as part of its ATP standalone product or as part of a version of Office 365

  that includes ATP within it. Motion, pp. 16-17. However, Microsoft then wrongly states that Bour

  was required to “determine what percentage of revenues from ATP and Office 365 are directly

  attributable to Safe Links” and that “Bour was required to do” “a proper appointment analysis.”




                                                    8
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 9 of 33




         Microsoft’s argument is completely opposite and directly contradictory to all well-

  established crystal-clear law. It is indisputable that Bour was required to only show total gross

  sales for the products at issue that contain Safe Links, and then the burden shifted to Microsoft to

  “prove which, if any, of those sales were not attributable to” the false advertising. As Microsoft

  repeatedly points out, Safe Links is not a product but rather a feature in a larger product. Microsoft

  also admits that “[b]ecause Microsoft sales information is maintained at the product level and not

  at the feature level, revenues attributable to Safe Links are not available, although revenues for

  [the larger products of] ATP and Office 365 are available.” Motion, p. 17.         Kathryn Griffith,

  Microsoft’s corporate representative designee regarding Microsoft’s financial information,

  confirmed at deposition that Microsoft does not maintain financial information at the Safe Links

  level. Griffith Depo, 8:22-9:2, attached as Exhibit “6”



          ; Griffith Depo, 21:20-24



                                                                      Given that Safe Links’ revenues

  are unavailable, it was Microsoft’s expert’s responsibility to apply “a proper apportionment

  analysis” in his report. Yet, he did not even apply the “apportionment analysis” that Microsoft now

  argues is appropriate and can be done. Motion, p. 18.

         Microsoft admits that “Bour used the revenues for ATP and Office 365 [which must be

  purchased to get Safe Links] to calculate” disgorgement of profits. Motion, p. 16-17. That is

  exactly what Ms. Bour is required to do under all applicable law – she calculated total gross sales

  for the products at issue that contain Safe Links. The burden then shifted to Microsoft to establish

  any apportionment. Noticeably, Microsoft fails to reference a single case to support its position




                                                    9
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 10 of 33




   that TocMail had the burden of apportionment. 2 Rather, Microsoft relies entirely on its rebuttal

   expert for its backwards argument. The law clearly places that burden on Microsoft, not TocMail.

          In fact, in Pandora, a case from the Southern District of Florida, the defendant moved to

   exclude the plaintiff’s damages expert on the exact same basis that Microsoft has attempted to

   exclude Ms. Bour here. Pandora, 2011 WL 2295269 *4. Specifically, the defendant argued that

   the plaintiff’s damages expert failed to sufficiently apportion profits attributable to the alleged

   wrongful conduct. The Court held that such argument by the defendant “fails as a matter of law”

   because, under 15 U.S.C. § 1117, it is the defendant’s “burden to prove any proportion of its total

   profits which may not have been due to the infringement.” Id.

          The law is so abundantly clear that the Court can easily reject Microsoft’s contention. Bour,

   as a matter of law, should not be excluded from testifying as to Microsoft’s sales for disgorgement

   of Microsoft’s profits.

          3.      Microsoft Did Not Apportion Safe Links. TocMail is Entitled to Gross Sales.

          Surprisingly, Microsoft makes the case that TocMail is entitled to seek disgorgement of all

   of gross sales, as Microsoft’s expert has not even attempted to apportion sales of Safe Links from

   sales of ATP and Office 365. Therefore, Microsoft must show that it did not violate the Lanham

   Act to avoid disgorgement of total gross revenue. See Ameritox, 2014 WL 1456347 at *10

   (“‘having already been held liable for [violating the Lanham Act], it is the defendant who should

   suffer the consequences of its own failure to apportion its profits.’”) (citation omitted).




   2
    In its Section regarding disgorgement, Microsoft cited general cases regarding Daubert standards
   and reliability, but nothing on the issue of apportionment or even disgorgement under the Lanham
   Act. For example, the Guinn v. AstraZeneca Pharm. LP, 602 F.3d 1245 (11th Cir. 2010) case
   cited by Microsoft involved claims that a prescription drug caused the plaintiff to develop diabetes.
   Motion, p. 18. The expert at issue was a medical expert, and the case had nothing to do with
   disgorgement or apportionment, or even damages in any manner, and was not a Lanham Act case.


                                                    10
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 11 of 33
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 12 of 33
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 13 of 33
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 14 of 33




   2013 WL 4776277, at *8 (E.D. Wis. Sept. 6, 2013) (“damages experts are permitted to ‘assume

   that the defendant’s alleged misdeeds caused the plaintiff’s loss’”); Orthofix, Inc. v. Gordon, No.

   1:13-cv-01463, 2016 WL 1273160, at *3 (C.D. Ill. Mar. 31, 2016) (“It is entirely appropriate for

   a damages expert to assume liability for the purpose of his or her opinion. To hold otherwise would

   be illogical.”); RMD, LLC v. Nitto Ams., Inc., No. 09-2056, 2012 WL 5398345 at *10 (D. Kan.

   Nov. 5, 2012) (“For purposes of presenting his damage calculation methods . . . Vianello is

   permitted to presume causation”); CRST Van Expedited, Inc. v. J.B. Hunt Transport, Inc., No.

   CIV-04-0651, 2006 WL 2054646 at *4 (W.D. Okla. July 24, 2006) (“For the purposes of

   presenting his damage calculation methods, Mr. Swanson is entitled to presume

   causation.”); Children’s Med. Ctr. of Dallas v. Columbia Hosp. at Med. City Dallas Subsidiary, 3-

   04-CV-2436, 2006 WL 616000, at *7 (N.D. Tex. Mar. 10, 2006) (“It is not necessary for Jacobs,

   or any other damages expert, to establish the requisite causal connection between liability and

   damages. Rather, plaintiff may establish causation by other means.”).

          In N. Palm Motors, a case in the Southern District of Florida, the defendant made nearly

   identical arguments to Microsoft’s arguments here. N. Palm Motors, 2020 WL 6384308 *1-2.

   Specifically, General Motors argued that plaintiff’s damages expert should be excluded because

   he accepted the allegations in the complaint as true and “did not include in his calculations facts

   that, according to GM, caused [plaintiff’s] damages either in whole or in part.” Id. at *1. Among

   other things, GM argued that plaintiff’s expert failed to consider that the plaintiff “cannot ‘identify

   a single customer that was turned away due to a lack of inventory,’” and that the expert’s opinions

   “are speculative, unreliable, and unhelpful to a jury because his calculations do not incorporate

   these facts.” Id. However, the expert was “not retained to assist [plaintiff] in proving causation,”

   and “[h]e does not purport to be a liability or causation expert.” Id. at *2. In denying the motion




                                                     14
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 15 of 33




   to exclude plaintiff’s expert, the Court stated that “[t]he jury will be instructed about any findings

   that it must make as to liability and causation before it turns to a calculation of damages.” Id.

          Similarly, the defendant in Robroy also made nearly identical arguments to Microsoft’s

   arguments here. Robroy, 2017 WL 1319553 *4. In response, the court stated: “The Court rejects

   [defendant’s] argument that a damages expert in a false advertising case may not limit his

   testimony to damages, but also must testify regarding causation.” Id. In concluding, the court also

   found: “Much of [defendant’s] motion, which focuses almost entirely on the issue of causation, is

   therefore beside the point. Even when [defendant] purports to address the issue of damages, its

   arguments frequently bleed over into quarrels with [the expert’s] proof of causation.” Id. at *6.

          Here, Microsoft’s entire argument in Section IV.B. of its Motion is that Ms. Bour should

   be excluded because she did not consider causation: “[w]ithout any evidence of such causation –

   which there is none – Bour’s damages are too speculative.” Id. at p. 20. Indeed, as explicitly stated

   in Bour’s Report, Bour will not be providing any opinions regarding causation or liability. Bour

   Report, ¶ 4. Rather, Bour’s damages models and numbers assume that liability and causation will

   be established at trial, and her damages models will be used by the jury for calculating damages

   thereafter. 5 The same applies to Bour’s two disgorgement models. 6



   5
     For example, Bour will not be testifying that Microsoft’s false advertisements caused X number
   of consumers to withhold trade from TocMail, nor that the false advertisements caused a certain
   group to withhold trade, nor the length of time for damages. Rather, Bour will be providing various
   calculations of lost profits for the jury to choose from based on the jury’s determination, for
   example, of the group(s) that withhold trade from Plaintiff, the duration of the withholding, and
   the percentage of the group that withhold trade based on evidence presented at trial independent
   of Bour.
   6
      Throughout its Motion, Microsoft wrongly seeks to conflate the two separate revenue
   calculations in Bour’s Report – revenue for ATP and revenue for Office 365. See e.g., Motion, p.
   17 (Bour “relied on the total value of Office 365”). To be clear, Bour has two separate and
   independent revenue charts for disgorgement purposes. One chart is comprised solely of sales from
   purchases that included ATP (which includes Safe Links) and in no way “relie[s] on the total value



                                                    15
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 16 of 33




          As set forth above, the law is clear that it is “perfectly permissible” for a damages expert

   to assume causation and liability in providing her opinion. As with its backwards arguments

   regarding the burden of apportionment, Microsoft’s contention that Bour should be excluded

   because she failed to consider causation is once again directly contradictory to the actual law on

   the issue. Like in Robroy, even when Microsoft claims to be arguing damages, it is merely

   rehashing the issue of causation and “is therefore beside the point.”

          Microsoft also wrongly suggests that TocMail should have already established causation

   and liability at this stage on a Daubert motion prior to trial and even prior summary judgment

   motions. For example, Microsoft’s Motion states, “[w]ithout any evidence of such causation—

   which there is none . . .” Motion, p. 20 (emphasis added). Microsoft also contends that Ms. Bour

   was “depending on someone else to establish” causation “[y]et this never occurred.” Id. However,

   “Proof of causation often comes from fact witnesses.” Gaedeke Holdings, 2015 WL 11570978 at

   *3. Hence, Microsoft inexplicably refers to a lack of evidence to be presented at a trial (or

   summary judgment) that has not yet occurred.

          Microsoft also states contrary to established law: “Bour fatally relies on various

   unsupported and unverified assumptions supplied by TocMail, including that all Defender and

   Office 365 customers read the advertisements, were misled by them, and chose to purchase

   Microsoft’s product and not TocMail’s because of those advertisements.” Motion, p. 3. This is



   of Office 365.” Bour Report, ¶ 75. The other chart reflects sales from purchases of the larger Office
   365. For both charts, Microsoft has the burden to show any apportionment. Additionally,
   regardless of apportionment, the jury may award disgorgement based on sales of Office 365 if it
   finds such sales are “reasonably related” to the wrongdoing. See Superior Consulting Servs., Inc.
   v. Shaklee Corp., No. 6:16-cv-2001, 2018 WL 2182303 *2 (M.D. Fla. May 9, 2018). Regardless,
   the two independent revenue calculations/charts are not intended to be cumulative but rather
   provide the Court and/or jury multiple options for awarding disgorgement. They should each be
   considered independently.



                                                    16
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 17 of 33




   backwards. First, to be entitled to disgorgement, TocMail does not need to establish actual

   damages, let alone have to prove anything remotely close to that which Microsoft wrongly asserts. 7

   For damages, it will be up the jury to decide the number of users that withheld trade from TocMail.

   Bour will not be opining on this issue, and therefore it is not an assumption of her damages model.

   C.     Microsoft Grossly Mischaracterizes Ms. Bour’s Opinions.

          Microsoft argues that Bour was asked to “assume many unreasonable facts, numbers, and

   theories provided by Mr. Wood and TocMail’s counsel.” Motion, p. 22-23. This section is largely

   a continuation of its causation arguments from Section IV.B. As discussed above, the law is clear

   that Bour, as a damages expert who is not opining on causation or liability, is certainly allowed to

   accept such assumptions for purposes of her damages calculations. To avoid any doubt, TocMail

   entirely disagrees with Microsoft’s claims that the facts and numbers are unreasonable.

          Even if it were proper to consider Microsoft’s causation and liability arguments,

   Microsoft’s positions are again unfounded. For example, Microsoft argues “Bour further assumes

   that … TocMail would have a 98% profitability rate … Indeed, such an astronomical number

   cannot meet Daubert’s reliability prong.” Motion, p. 24. Microsoft cited its expert who purportedly

   “did [his] research on email security firms.” Id., FN10. However, Microsoft’s expert should have

   checked the Cost of Goods Sold (COGS) for ATP which was



   7
     Microsoft also tries to argue that TocMail cannot seek disgorgement of Office 365 sales because
   supposedly less than 3% of Office 365 commercial users employ Safe Links. Motion, p. 18. If this
   were actually true, Microsoft’s expert would still be required to do an apportionment analysis,
   which he did not do. Nevertheless, the statistic is not true. Microsoft performed a statistical bait
   and switch by taking a percentage of companies and wrongly applying that to its touted percentage
   of users. Given that enterprises with tens of thousands of employees are far more likely to use
   Safe Links than two-person companies, this is a gross statistical error at best. For example, consider
   the situation where 99 two-person companies do not use Safe Links (198 users) while one large
   company with 400,000 users does use Safe Links. That means 1 out of 100 companies (1%) are
   using Safe Links but that 400,000 out of 400,198 users (over 99%) are actually using Safe Links.
   There is simply no validity to Microsoft’s claim.


                                                    17
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 18 of 33




                                                                          See MSFT_TOC00043528,

   attached as Exhibit”16.”

                                                                         Thus, the Microsoft product

   that competes with TocMail’s product actually has a gross profit margin similar to the profitability

   rate calculated by Bour. Microsoft’s argument regarding profitability is without merit.

          Additionally, Bour’s damages model includes an annual 2.2 million dollar budget for

   “marketing and sales” and an additional annual $300,000 budget for “Major Account

   Representatives.” Report, ¶ 87(b). However, Microsoft asserts that Bour supposedly assumed that

   because of “a single TocMail press release … TocMail would retain this market share for at least

   15 years.” Motion, p. 23. Microsoft’s gross mischaracterization of Bour’s Report is baseless.

          Microsoft also argues that Bour “assumes that after TocMail poached every single

   Microsoft Office 365 and ATP customer, the startup would have the infrastructure, servers, and

   personnel to support these one hundred million customers within a matter of five months. Such

   unverified assumptions and numbers merely provided by TocMail render Bour’s opinions and

   calculations fatally conclusive and unreliable.” Motion, p. 24. Yet, as Wood has already testified,

   TocMail’s offerings are cloud-based and therefore take advantage of the cloud’s scale-on-demand

   capabilities. Wood Depo. (3-19-21), 116:17-118:22, attached hereto as Exhibit “17.” TocMail has

   accounts with three cloud service providers: Digital Ocean, Linode, and Amazon Web Services.

   Id. at 118:4-22. They have more than enough infrastructure, servers, and personnel to handle the

   expansion “in days, if not hours.” Id. at 117:16.

          Perhaps most importantly, Microsoft wrongly states that Bour’s model “assumes”

   “TocMail poached every single Microsoft Office 365 and ATP customer” — “one hundred million

   customers.” Motion p. 24. However, Bour’s model does not presume that TocMail would “poach”




                                                       18
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 19 of 33




   even one customer from Microsoft, let alone 100 million of them. Bour’s model is not based on

   any such migration nor is it even based on presuming that companies would choose TocMail over

   ATP (as TocMail can be used simultaneously with ATP, including simultaneously with ATP Safe

   Links) — a fact the Microsoft admits in its Motion. Motion, p. 23, FN 8. Rather, Bour’s damages

   model presumes a market share of users for TocMail if Microsoft would have never engaged in its

   false advertising, a market share that would not necessarily have come from Microsoft (e.g.

   companies that kept email security on-premise). Hence, the constant weaving of the false narrative

   of some form of “migration” throughout the Motion renders the Motion fatally flawed as well.

          Microsoft’s Motion to exclude Bour has no merit and should be denied.

                IV.     MR. WOOD’S OPINIONS SHOULD NOT BE EXCLUDED.

          As an initial note, Michael Wood, TocMail’s CEO, has been designated as a cybersecurity

   expert, not a liability expert as Microsoft misstates in the first sentence of its motion. Motion, p. 1.

   Mr. Wood testified at deposition that his report was written “from a cybersecurity expert

   standpoint.” Wood Depo. (3-18-21), 207:20-21 attached as Exhibit “18” (emphasis added).

   Microsoft acknowledged its understanding of the same during Wood’s deposition: “So I’m trying

   to figure out as a cybersecurity expert, for the jury’s benefit…” Id. at 208:20-21. 8

          Wood’s Report enumerates the cybersecurity issues that are the full “Scope” of his report

   and expert testimony. Wood Report, pp. 13-14 (ECF 69-1). For example, Wood will testify




   8
     To be clear, Wood’s cybersecurity testimony does impact liability and even damages. For
   example, Wood testified how TocMail’s technology will be able to defeat IP Cloaking without
   requiring any additional changes throughout the years. Wood Depo (3-19-21), 132:15-136:12. His
   testimony explains why Bour’s damages model assumes no additional spending in this area,
   contrary to Microsoft’s assertion that Bour did so “to keep numbers artificially high.” Motion, pp.
   24-25. Also, at trial, Wood will testify regarding the input that he provided to Bour. He will do so
   “without the necessity of qualifying the witness as an . . . expert” because he is a corporate “officer”
   as permitted in the Eleventh Circuit. See U.S. v. Hill, 643 F.3d 807, 841 (11th Cir. 2011).


                                                     19
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 20 of 33




   regarding “[h]ow cloaking and IP Cloaking work.”; “Why cloud-based scanners cannot reliably

   detect IP Cloaking.”; “The degree of vulnerability of Microsoft’s customers to IP Cloaking when

   they were using on-premise email security scanners.”; “The degree of vulnerability of Microsoft's

   customers to IP Cloaking after they moved to Microsoft’s cloud-based Office 365 email security.”;

   “The degree of effectiveness of Office 365’s ATP Safe Links at protecting users from IP Cloaking

   from the inception of ATP Safe Links to present.”; and “The degree of effectiveness of TocMail

   at protecting users from IP Cloaking.” Id. Wood will also be testifying to the other cybersecurity

   topics enumerated on pages 13-14 in his Report. Such opinions are directly relevant to this present

   litigation and will be helpful to the finder of fact.

           Furthermore, pursuant to Federal Rule of Civil Procure 26(a)(2)(C), Wood may testify as

   a lay expert witness independent of his Report given that he timely disclosed “the subject matter

   on which [the witness is] expected to present evidence” and “a summary of the facts and opinions

   to which [the witness is] expected to testify.” Wood Report p.14; see Fed R. Civ. P. 26(a)(2)(C).

   A.      Mr. Wood Has the Requisite Cybersecurity Expertise and in the Eleventh Circuit,
           Bias is a Credibility Matter for the Jury to Decide.

           1.      Wood Has the Requisite Cybersecurity Expertise to Provide his Opinions.

           Microsoft argues that Wood should be excluded because “Wood has never served as an

   expert witness before.” Motion, p. 6. “By that logic, no witness could ever qualify as an expert for

   the first time because that would require being retained previously as an expert.” Health & Sun

   Research, Inc. v. Australian Gold, LLC, No. 8:12-cv-2319, 2013 WL 6086457, at *3 (M.D. Fla.

   Nov. 19, 2013); see also Clena Invests, Inc. v. XL Specialty Ins. Co., 280 F.R.D. 653, 661 (S.D.

   Fla. 2012) (“Every expert found to be qualified by a court must be so designated a first time.”).

           Microsoft further argues that Wood should be excluded because he does not have an

   “academic” degree in cybersecurity. Motion, p. 6. However, “[t]he fact that [the expert] does not



                                                      20
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 21 of 33




   have a college degree in a hard science is not determinative of his qualifications.” Mason. v. Safeco

   Ins. Co. of Am., No. 4:09-CV-1081, 2010 WL 3341582, at *5 (E.D. Mo. Aug. 23, 2010) (finding

   self-taught expert qualified); see also Jackson v. City of Bloomington, No. 17-cv-1046, 2019 WL

   202160 (C.D. Ill. Jan. 15, 2019) (finding that “Defendants’ emphasis of [the expert’s] lack of

   formal education” – the expert “did not finish high school” – “is misplaced” because “Rule 702

   specifically contemplates the admission of testimony by experts whose knowledge is based on

   experience.”) (quoting Smith v. Ford Motor Co., 215 F.3d 713, 718 (7th Cir. 2000)). This includes

   experts who are “self-taught.” Speedfit LLC v. Woodway USA, Inc., 13-CV-1276, 2019 WL

   1436306, *6 (E.D.N.Y. Mar. 29, 2019); see also Wellogix, Inc. v. Accenture, L.L.P., 716 F.3d 867,

   881-82 (5th Cir. 2013) (finding expert could “help the jury understand software concepts and

   terms” where expert had taught himself programming language and implemented the software).

          “An expert in this Circuit may be qualified ‘by knowledge, skill, experience, training, or

   education.’” Johnson v. Carnival Corp., No. 19-cv-23167, 2021 WL 1341527, *2 (S.D. Fla. Apr.

   9, 2021). “[S]o long as the expert is minimally qualified, objections to the level of the expert's

   expertise go to credibility and weight, not admissibility.” Id. Hence, qualifying as an expert “is

   not a stringent inquiry.” Entourage Custom Jets, LLC v. Air One MRO, LLC, No. 18-22061, 2020

   WL 837171, *3 (S.D. Fla. Feb. 20, 2020). Nevertheless, Microsoft argues that Wood “lack[s] the

   bare minimal qualifications to testify as an expert in this matter.” Motion, p. 6.

          Wood began his professional career in the late 1980’s designing network security

   (cybersecurity) products. Wood Declaration, ¶ 3, which is attached hereto as Exhibit “19.” A

   copy of Wood’s CV is attached as Exhibit “20.” He realized that the effectiveness of these

   network security products was dependent on the strength of the cryptographic algorithm being

   used. Wood Dec., at ¶ 4. Therefore, he designed and patented the strongest block cipher at this




                                                    21
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 22 of 33




   time (U.S. Patent No. 5,003,596). Id. Wood co-authored a published paper with cryptography

   researcher Dr. Thomas Cusick (PhD in Cryptography from Cambridge University) regarding the

   mathematical innovations upon which Wood’s cryptography is built. Id. at ¶ 5. Wood’s security

   breakthrough is included in Applied Cryptography by Bruce Schneir. Id. This was but one

   component that Wood designed for network security (cybersecurity) products.

          For the next decade, Wood worked in Information Technology, which included overseeing

   security. Id. at ¶ 6. Wood also invented a methodology to automatically create a blueprint of an

   organization’s physical network infrastructure, worldwide, accurate to the hour. Id. Wood patented

   this methodology and also served as the lead programmer on the commercial version. Id. Wood

   negotiated the sale of his patent and technology to Micromuse Inc., a network management

   software company, for $42 million in stock with a one-year stock lockup stipulation. Id. Wood’s

   technology proved so valuable to Micromuse that it catapulted the stock value of the multi-national

   corporation, resulting in a stock value in excess of $95 million by the time the stock lockup period

   expired. 9 Id. This technology has applications to both network management and to hacking (as a

   reconnaissance tool). Id.

          Following the sale of his technology to Micromuse, Wood continued developing other

   inventions, all involving Software Engineering. Id. at ¶ 7. Then, in 2014, he returned to focusing

   full time on cybersecurity due to hackers remotely controlling his computers. Id. at ¶ 8. Unable to

   find an off-the-shelf product to block the miscreants, he devoted himself full-time to the study of

   hacking, devouring dozens of highly technical books on the subject (including the 488-page tome



   9
     In a transparent attempt to discredit Wood’s significant accomplishment, Microsoft makes the
   ludicrous assertion that Micromuse paid $42 million in stock for a technology that was “obsolete
   by the time it was acquired and therefore was never used.” Motion, p. 5. Microsoft cites an out-of-
   context discussion regarding IBM’s acquisition of Micromuse that occurred many years later as
   the basis for its patently false assertion.


                                                   22
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 23 of 33




   Hacking: the Art of Exploitation). Id. Wood then programmed his own software firewall, which

   instantly identified the (two) IP addresses being used to access his computers, and blocked them.

   Id. at ¶ 9. He then designed a Window’s version of the product called Hacker Deterrent. Id. at ¶

   10. However, when Microsoft changed from Windows as a product to Windows as a service (aka

   Windows 10), it forbade developers from offering users full control over their network traffic. Id.

   at ¶ 11. Wood therefore moved to focusing on solving the problem of phishing, during which time

   he immersed himself in every study he could find on the issue of cloaking (the reason that phishing

   is a big problem in the first place). Id.

           Wood designed, patented, and developed his initial technology to effectively block email

   phishing links, naming the technology PhishViewer. 10 Id. at ¶ 12. Although PhishViewer solved

   the problem of cloaking, PhishViewer always required users to manually make a choice. Id.

           However, on May 23, 2019, Wood was notified that another patent was going to issue —

   a patent whose claimed methodology solves the problem of cloaking while also automatically

   taking users to approved sites. Id. at ¶ 13. Therefore, Wood shifted his focus to adding the

   automated methodology to PhishViewer thereby creating TocMail — a cybersecurity service that

   TocMail introduced to the marketplace in December 2019. Id. at ¶ 14.

           During his early days of cybersecurity research and invention, Wood also published a blog

   entitled “Hacking Exposed,” a cybersecurity blog. Wood Report, Appx. 196. His innovations in

   cybersecurity have led to the issuance of seven cybersecurity patents, including two for solving

   the problem of IP Cloaking (i.e. the PhishViewer patent and the TocMail patent). Id. at ¶ 15.




   10
       A video demonstration of the original PhishViewer technology is available at
   https://tocmail.net/phishviewer. One of the Hacker Deterrent ads, along with positive reviews of
   actual users, is also available at https://tocmail.net/HackerDeterrent.


                                                   23
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 24 of 33




           Certainly an individual with Wood’s background and accomplishments more than satisfies

   being “minimally qualified” through experience. Any objections to the level of his expertise go to

   credibility and weight, not gate-keeping.

           2.      Bias is not Grounds for Disqualification in the Eleventh Circuit.

           Microsoft also argues that because Wood is a shareholder in TocMail, his “financial …

   stake in the outcome of the case” means that “he must be stricken as an expert.” Motion, p. 1.

   However, “Daubert nowhere states that an expert witness must be disqualified because he has …

   a direct financial stake in the outcome.” Equalia, LLC v. Kushgo LLC, No. 2:16-cv-02851, 2017

   WL 114084 at *2 (D. Nev. Jan. 11, 2017); see also U.S. ex rel. Maxwell v. Kerr-McGree Chem.

   Worldwide, LLC, No. CivA04Cv-01224, 2006 WL 2053534, at *3 n.1 (D. Colo. July 21, 2006)

   (“The fact that Maxwell is an expert witness and has a financial stake in this case, does not in any

   manner disqualify him as an expert in this case.”). In fact, even when an expert has a “significant

   emotional and financial stake in the case, it is ‘the province of the jury to weigh the credibility of

   witnesses, including witnesses testifying as experts.’” Sands v. Integon Nat’l Ins. Co., No. 18-cv-

   00714, 2020 WL 7027442, *11 (D. Colo. Nov. 30, 2020) (citation omitted).

           Indeed, courts from within the Eleventh Circuit have held that employees of parties can

   testify as their own expert. See CMR Constr. & Roofing, LLC v. ASI Preferred Ins. Corp., No.

   2:19-cv-442, 2021 WL 1214876, *5 (M.D. Fla. March 31, 2021) (refusing to exclude employee

   expert who split profits with the party and stating that to the extent the “financial agreement is

   relevant, such an issue would go to the credibility of [the expert’s] testimony rather than its

   admissibility”). This is due to the Eleventh Circuit’s interpretation of Rule 702, “which requires

   courts to determine that the expert’s method is reliable, not that it is free of any possibility of bias.”

   Adams v. Lab. Corp. of Am., 760 F.3d 1322, 1333 (11th Cir. 2014) (also stating that “[t]he risk of




                                                      24
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 25 of 33




   bias would mean, at most, that Dr. Rosenthal’s testimony is to some extent ‘shaky,’ and shakiness

   goes to the weight of her testimony, not its admissibility.”); see also McAteer v. Ciardi Ciardi &

   Astin, P.C., No. 9:18-cv-81264, 2019 WL 4420363 at *1 (S.D. Fla. Sep. 16, 2019) (“credibility

   and persuasiveness are reserved for the jury”); Centre Hill Courts Condo. Ass’n v. Rockhill Ins.

   Co., No. 19-cv-80111, 2020 WL 475633, *3 (S.D. Fla. Jan. 27, 2020) (“The district court cannot

   exclude an expert based on a belief that the expert lacks personal credibility.”).

          “[F]inancial incentive alone is not enough to disqualify a witness.” N. Shore Co-Owners'

   Ass’n. v. Nationwide Mut. Ins. Co., No. 1:18-cv-03632, 2021 WL 527014, *5, n.2 (S.D. Ind. Feb.

   12, 2021). Indeed, Microsoft did not cite any case in which a qualified witness was excluded

   because of a financial stake in the case. In stark contrast, in the Perfect 10 case cited by Microsoft,

   the court stated “Mr. Zada almost certainly lacks the specialized knowledge to qualify as an

   expert.” Perfect 10, Inc. v. Giganews, Inc., 2014 WL 10894452, at *6 (C.D. Cal. Oct. 31, 2014).

   Moreover, Perfect 10 was contrary to established law within its own circuit. See In re Plant

   Insulation Co., 544 Fed.Appx. 669, 671 (9th Cir. 2013) (“[T]he Non-Settling Insurers allege that

   the experts, Steven Snyder and David McClain, have a direct financial stake in the outcome of the

   case ... and this precluded them from testifying. This is not our law. Generally, ‘evidence of bias

   goes toward the credibility of a witness, not his competency to testify.’”) (emphasis added).

          In fact, the court in Perfect 10 actually acknowledged that other courts who have

   considered the issue of whether a party can testify as its own expert have allowed the party expert

   to testify. Id. at *5. Specifically, the court in Perfect 10 quoted Tagatz v. Marquette University,

   861 F.2d 1040, 1042 (7th Cir.1988), which held that “the fact that a party testifying as his own

   expert is not disinterested does not distinguish him from any other party who testifies in his own

   behalf.” Id. at *5. Additionally, the court in Perfect 10 also cited Masterson Marketing, Inc. v.




                                                     25
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 26 of 33




   KSL Recreation Corp., 495 F. Supp. 2d 1044, 1050 (S.D. Cal. 2007), which “held that a plaintiff

   could rely on his own expert report to support his claims.” Id. at *5.

           Unlike the Plaintiff in Perfect 10, Wood is not merely considering himself an expert

   because he owns and operates a business. Rather, Wood has over 30 years of experience with

   cybersecurity issues, including seven cybersecurity patents and two patents specifically with

   respect to the specific attack at issue in this case – IP cloaking. Regardless, courts have

   overwhelmingly held that, provided an expert’s testimony is not based on a contingency fee (which

   it is not here), having a financial interest in the case is not a matter of admissibility.

   B.      Wood’s Report Contains Highly Relevant Opinions That Will Be Helpful to the Jury.

           1.      Factual Summaries are Admissible.

           In Section III.B. of its Motion, Microsoft claims that “Wood’s report largely consists of

   factual summaries” and then argues that such “factual summaries” should be excluded because

   they are supposedly “improper expert testimony.” Motion, p. 12. A recent decision by the Eleventh

   Circuit shows that Microsoft’s “argument[] is meritless,” as such summaries in an expert report

   are admissible because such factual summaries are also independently admissible under Fed. R.

   Evid. 1006. Dubay v. King, 844 Fed.Appx. 257 (11th Cir. 2021). (“DuBay’s arguments are

   meritless. DuBay argues that Furth’s summaries were unreliable and irrelevant and thus

   inadmissible under Rule 702 and Daubert. But Furth’s summaries were independently admissible

   under Rule 1006.”). Specifically, Rule 1006 provides: “The proponent may use a summary, chart,

   or calculation to prove the content of voluminous writings, recordings, or photographs that cannot

   be conveniently examined in court.” Fed. R. Evid. 1006. “The admission of summaries of

   voluminous books, records, or documents offers the only practicable means of making their

   contents available to judge and jury.” Id. at Advisory Notes.




                                                      26
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 27 of 33




           As documented in Wood’s Report, cloaking began to be used in the 1990’s and rapidly

   became popular, resulting in voluminous writings regarding its use over more than two decades.

   Wood’s report includes 237 Appendixes spanning 3,621 pages. Wood’s summaries of the

   voluminous writings regarding cloaking will be helpful to the jury to understand IP Cloaking and

   how it is used in order to assess the evidence put forth by both TocMail and Microsoft. These are

   exactly the type of summaries contemplated by Rule 1006. Such summaries are not excludable via

   a Daubert challenge, but are rather “admissible either as expert testimony under Rule 702 or as

   summary testimony to prove content under Rule 1006.” Dubay, 844 Fed.Appx. at 263 (citing WWP

   Inc. v. Wounded Warriors Family Support, Inc., 628 F.3d 1032, 1039-40 & n.7 (8th Cir. 2011). 11

           2.      Wood’s Report Contains Highly Technical Information Relevant to the Case.

           As noted in the Advisory Committee Notes to Rule 702, it is permissible “for an expert to

   educate the factfinder about general principles . . . [and] [t]he amendment does not alter the

   venerable practice of using expert testimony to educate the factfinder on general principles.” Fed.

   R. Evid. 702 Advisory Comm. Notes, 2000 Amendment. For this kind of expert testimony, Rule

   702 simply requires that: “(1) the expert be qualified; (2) the testimony address a subject matter

   on which the factfinder can be assisted by an expert; (3) the testimony be reliable; and (4) the

   testimony ‘fit’ the facts of the case.” Id.




   11
     Microsoft’s assertion that Wood’s Report “largely consists of … a summary of fact discovery in
   the case” is patently false. Wood’s Report was submitted on October 1, 2020 and discovery did
   not close until March 30, 2021. When submitted, Microsoft had only produced approximately
   1,075 pages of the 336,145 pages of documents it ultimately produced in the case (0.32%).
   Depositions were not taken until March 2021. Wood’s Report was based on his own experience,
   research, and testing, and the three-page supplemental report he submitted November 17, 2020
   was based on two studies that Wood unearthed. Microsoft’s argument is disingenuous at best.



                                                   27
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 28 of 33




          Microsoft lifts a few snippets out of a 103-page Report to misportray the Report as nothing

   more than a narrative of the allegations in the complaint. Motion, p. 8-9. 12 However, Wood’s

   Report explains detailed technical information regarding cybersecurity attacks, IP cloaking, email

   security scanners and how they work, vulnerabilities and numerous other technical issues such as

   PHP, Javascript, .htaccess files, and more to “educate the factfinder on general principles” of

   cybersecurity to assist the trier of fact in the issues central to this case. In fact, Microsoft has

   previously acknowledged “the complexity and technicality of the issues” in this case. Joint Motion

   for 1.5 Spacing, ¶ 11 (ECF No. 65). Now, Microsoft argues that all of these highly technical matters

   “require no expert interpretation.” Motion, p. 10. To the contrary, expert explanation will greatly

   assist the trier of fact due to “the complexity and technicality of the issues.”

          For example, Wood’s report explains “server-side” (pp. 5, 30-31, 80) vs “client-side” (pp.

   5, 30-3) attacks, “IP-based” (pp. 14-18, 82) vs other forms of cloaking (p. 82), “blacklisting”

   (pp. 81-82) vs “whitelisting,” (pp. 77-79) and more. Wood Report. He does so to assist the trier

   of fact in understanding the specialized terminology used in numerous materials relevant to this

   case, including a document written by Microsoft researchers at the same time that Office 365 was

   being launched; a document describing Microsoft’s latest anti-cloaking technology called Rozzle.

   Wood Report, p. 5. Microsoft’s researchers wrote: “Rozzle is helpless at avoiding server-side

   cloaking. … It is not useful against server-side techniques such as IP blacklisting.” Wood Report

   p. 5. Only through expert assistance with the specialized terminology would the jury understand

   that the researchers’ reference to being “helpless at” “server-side” “IP blacklisting” was their



   12
      Furthermore, in the same section that Microsoft asserts Wood’s supposed lack of “expert
   analysis,” Microsoft acknowledges that his report concludes that “the use of IP Cloaking
   underwent three stages of development.” Motion p. 10, FN 3. This Three-Stage Development is
   Wood’s conclusion that he derived from expert analysis of the collection of documents disclosed
   in pages 14-32. This Three-Stage Development is not mentioned in any individual document.


                                                     28
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 29 of 33




   explicit acknowledgement of Rozzle being defenseless against IP Cloaking. This also rebuts

   Microsoft’s argument that Wood’s Report should be excluded because of the bolded sentence:

          It’s indisputable that Microsoft knew that its cloud email security was defenseless
          when it announced the launch of Office 365. As documented shortly below, at the same
          time that Microsoft’s marketing team was convincing companies to move to Microsoft's
          cloud, Microsoft’s researchers were discussing how ‘helpless’ they are against this attack,
          and they discussed how its latest cloaking detection technology ‘is not useful’ against it.

   Wood Report, p. 3 (emphasis added). Wood was merely introducing the upcoming Rozzle study

   that explicitly included the researchers’ acknowledgement of this.

          Microsoft’s contention relies on In re Trasylol, 709 F. Supp. 2d 1323, 1351 (S.D. Fla.

   2010). However, in that case, unlike Wood, the author “comes armed with a Report [entirely]

   designed to … stack inference upon inference in order to offer her [one] ‘takeaway’ or ‘take home

   message’ with respect to intent, knowledge, or causation in a manner unrelated to any regulatory

   expertise.” Id. “[T]he major problem identified-the lack of analysis or connection between the facts

   and the opinions-persists throughout Dr. Parisian’s Report” Id. at 1350.

          Contrary to Trasylol, the minimal references to Microsoft’s knowledge in Wood’s Report

   are based on Microsoft’s own writings, connected to the facts, and related to Wood’s expertise.

   Moreover, as in the Rozzle example, Wood simply explains the specialized terminology without

   making any inference whatsoever regarding Microsoft’s knowledge — let alone “stack[ing]

   inference upon inference” as was the case in Trasylol. Wood’s report consistently ties all of his

   opinions to an analysis of related documents combined with his cybersecurity expertise. 13




   13
     Experts are permitted to testify regarding “objective” statements of another’s knowledge. Ma v.
   Equifax Info. Servs., LLC, 288 F. Supp. 3d 1360, 1367 (N.D. Ga. 2017) (finding, in response to
   defendant’s argument that the expert “should not be allowed to testify as to Defendant’s state of
   mind and what Defendant ‘knew’” that the expert may testify regarding “objective” forms of
   another’s knowledge, but not “subjective” kinds.)


                                                   29
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 30 of 33




   C.     Wood’s Test Employed a Generally Accepted Methodology.

          The Eleventh Circuit interprets the fourth factor of reliability as follows: “(4) whether [the

   test] is generally accepted in the field.” United States v. Gutierrez, 810 Fed.Appx. 761, 767 (11th

   Cir. 2020). Wood has testified that there is a “standard test” for assessing whether a link scanner

   is vulnerable to IP Cloaking. Wood Depo. (3-19-21), 9:15-16. Both Cryptron Security and Hector

   Monegur applied the standard IP Cloaking test to Safe Links — both finding Safe Links to be

   vulnerable. Id. 7:19-25. World-renowned hacker Hector Monsegur is notable for assisting the FBI

   in stopping over 300 cyberattacks. Wood Report, p. 68. Wood designed his test based on Hector

   Monsegur’s article. Wood Depo. (3-18-21), 47:10-14. Thus, the methodology for Wood’s test that

   he disclosed in his Report was generally accepted in the field. Wood Report, pp. 61-67. Therefore,

   Wood’s methodology meets the Daubert requirement of reliability. See Gutierrez, 810 Fed.Appx.

   at 767 (“we [previously] upheld the admission of expert testimony that met only the ‘general

   acceptance’ Daubert factor. . . . [B]ecause the district court credited testimony that the experts’

   method was generally accepted”) (emphasis added).

          Inexplicably, despite page 67 of the Report explicitly stating that the entire source code for

   the test is included in Appendix 237, Microsoft states that “[i]t is unclear how the ‘test’ was

   performed.” Motion, p. 12. Furthermore, the Court can review Wood’s video using the clickable

   link in Wood’s Report. (ECF 69-1) (see link for “narrated video” on page 61).

          Wood designed the test, programmed the test, configured the servers, and created the final

   video. Wood Report p. 61. In order to enable Wood to watch the server traffic in realtime, Wood

   paid Mikail Tunç $482 to click two email links on Tunç’s phone, and send a screen recording.

   Wood Report pp. 13, 62. Wood reiterated that the sum total of Tunç’s involvement was to click

   two email links and send the screen recording. Wood Depo. (3-18-21), 18:3-6; 19:4-5. Microsoft




                                                   30
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 31 of 33
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 32 of 33




   Dated: June 9, 2021                           Respectfully submitted,

                                                 By: /s/ Joshua D. Martin
                                                 Joshua D. Martin
                                                 Florida Bar No. 028100
                                                 josh.martin@johnsonmartinlaw.com
                                                 JOHNSON & MARTIN, P.A.
                                                 500 W. Cypress Creek Rd., Suite 430
                                                 Fort Lauderdale, Florida 33309
                                                 Telephone: (954) 790-6699
                                                 Facsimile: (954) 206-0017
                                                 Attorneys for Plaintiff, TocMail Inc.



                                    CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that, on this 9th day of June 2021, the foregoing document is

   being served this day on all counsel of record on the service list via electronic mail.

                                          By:    /s/ Joshua D. Martin
                                                 Joshua D. Martin




                                                    32
Case 0:20-cv-60416-AMC Document 73 Entered on FLSD Docket 06/09/2021 Page 33 of 33




                                      SERVICE LIST

                        TOCMAIL INC. v. MICROSOFT CORPORATION
                                20-60416-CIV- CANNON/HUNT
     Joshua D. Martin                            Francisco O. Sanchez
     E-Mail: josh.martin@johnsonmartinlaw.com    E-Mail: sanchezo@gtlaw.com
     JOHNSON & MARTIN, P.A.                              orizondol@gtlaw.com
     500 W. Cypress Creek Rd.                    Evelyn A. Cobos
     Suite 430                                   E-Mail: cobose@gtlaw.com
     Fort Lauderdale, Florida 33309                      MiaLitDock@gtlaw.com
     Telephone: (954) 790-6699                   GREENBERG TRAURIG, P.A.
     Facsimile: (954) 206-0017                   333 S.E. 2nd Avenue, Suite 4400
                                                 Miami, Florida 33131
                                                 Telephone: (305) 579-0500
                                                 Facsimile: (305) 579-0717

                                                  Mary-Olga Lovett (admitted pro hac vice)
                                                  E-Mail: lovettm@gtlaw.com
                                                  Rene Trevino (admitted pro hac vice)
                                                  E-Mail: trevinor@gtlaw.com
                                                  GREENBERG TRAURIG LLC
                                                  1000 Louisiana Street, Suite 1700
                                                  Houston, Texas 77002
                                                  Telephone: (713) 374-3541
                                                  Facsimile: (713) 374-3505




                                             33
